Case 1:18-mo-00089-BAH Dooument 2 Filed 07/05/18 FSage 1 of 1

FILED

JUL '5 2018
UNITED STATES DISTRICT COURT C|erk. U.S. District& Bankruptc

FOR THE DISTRICT OF COLUMBIA Courts for the Dlstrlct of Co|umbla

IN THE MATTER oF THE APPLICATIoN Case: 1 ;18_mc_00089
oF THE UNITED STATES oF AMERICA - .
AN oRDER UNSEALING MULTIPLE gsslgneg Tt° '_ H7;’g‘/’§(|)|’1 §e'y' A'
sEARCH WARRANTS SS'QF_‘~ _ a e ~_

Descrlptlon: |V|lsc.

 

ORDER TO UNSEAL
Upon consideration of the government’s Motion to Unseal Search Warrant and related
Documents, and the entire record in this case, it is hereby
ORDERED, that the government Motion to Unseal is GRANTED; and it is further
ORDERED, that the above matter is unsealed, as Well as l:l7-mj-79; l:l7-mj-l48; 1:17-
mj-204; l:l7-mj-246; l:l7-mj-285; l:l7-mj-540; l:l7-mj-54l; and l:l7-mj-692, and
specifically that the search and seizure warrant and all related documents in those case numbers

are unsealed.

SO ORDERED.

Date. /AA/ § a>/€

 

 

